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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

 UNITED STATES OF AMERICA,

 v.                                             Criminal Action No. 2:15-cr-2-3

 ROY MELVIN ISNER,
       Defendant.

                      OPINION/ REPORT AND RECOMMENDATION
                    CONCERNING PLEA OF GUILTY IN FELONY CASE

        This matter has been referred to the undersigned Magistrate Judge by the District Court for

 purposes of conducting proceedings pursuant to Federal Rule of Criminal Procedure 11. Defendant,

 Roy Melvin Isner, in person and by counsel, Deirdre Purdy, appeared before me on April 14, 2015.

 The Government appeared by Assistant United States Attorney Stephen Warner. The Court

 determined that Defendant was prepared to enter a plea of “Guilty” to Count Twelve of the Indictment.

        The Court proceeded with the Rule 11 proceeding by first placing Defendant under oath.

        The Court inquired of Defendant whether he was a citizen of the United States. Defendant

 responded that he is a citizen. The undersigned asked Defendant whether he understood that if he were

 not a citizen of the United States, by pleading guilty to a felony charge he would be subject to

 deportation at the conclusion of any sentence; that he would be denied future entry into the United

 States; and that he would be denied citizenship if he ever applied for it. Defendant stated that he

 understood.

        The Court determined that Defendant’s plea was pursuant to a written plea agreement, and

 asked the Government to tender the original to the Court. The Court asked counsel for the

 Government if the agreement was the sole agreement offered to Defendant. The Government

 responded that it was and counsel for Defendant confirmed the same. The Court asked counsel for the

 Government to summarize the written plea agreement. Defendant stated that the agreement as
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 summarized by counsel for the Government was correct and complied with his understanding of the

 agreement. The Court ORDERED the written plea agreement filed.

        The Court next inquired of Defendant concerning his understanding of his right to have an

 Article III Judge hear the entry of his guilty plea and his understanding of the difference between an

 Article III Judge and a Magistrate Judge. Defendant thereafter stated in open court that he voluntarily

 waived his right to have an Article III Judge hear and accept his plea and voluntarily consented to the

 undersigned Magistrate Judge hearing and accepting his plea, and tendered to the Court a written

 Waiver of Article III Judge and Consent To Enter Guilty Plea Before Magistrate Judge, which waiver

 and consent was signed by Defendant and countersigned by Defendant’s counsel and was concurred

 in by the signature of the Assistant United States Attorney appearing.

        Upon consideration of the sworn testimony of Defendant, as well as the representations of his

 counsel and the representations of the Government, the Court finds that the oral and written waiver

 of Article III Judge and consent to enter guilty plea before a Magistrate Judge was freely and

 voluntarily given and the written waiver and consent was freely and voluntarily executed by

 Defendant, Roy Melvin Isner, only after having had his rights fully explained to him and having a full

 understanding of those rights through consultation with his counsel, as well as through questioning by

 the Court. The Court ORDERED the written Waiver and Consent to Enter Guilty Plea before a

 Magistrate Judge filed and made part of the record.

        The undersigned then reviewed with Defendant Count Twelve of the Indictment and the

 elements the Government would have to prove, charging him with possession with intent to distribute

 marijuana, in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(D). The undersigned then reviewed

 with Defendant the statutory penalties applicable to an individual adjudicated guilty of the felony

 charge contained in Count Twelve of the Indictment, the impact of the sentencing guidelines on

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 sentencing in general, and inquired of Defendant as to his competency to proceed with the plea

 hearing. From said review the undersigned Magistrate Judge determined Defendant understood the

 nature of the charges pending against him and understood the possible statutory maximum sentence

 which could be imposed upon his conviction or adjudication of guilty on Count Twelve was

 imprisonment for a term of not more than five (5) years; understood that a fine of not more than

 $250,000.00 could be imposed; understood that both fine and imprisonment could be imposed;

 understood he would be subject to a period of at least two (2) years of supervised release; and

 understood the Court would impose a special mandatory assessment of $100.00 for the felony

 conviction payable on or before the date of sentencing. Defendant also understood that his sentence

 could be increased if he had a prior firearm offense, violent felony conviction, or prior drug conviction.

 He also understood he might be required by the Court to pay the costs of his incarceration and

 supervised release.

         The undersigned also reviewed with Defendant his waiver of appellate and collateral attack

 rights. Defendant understood that pursuant to his plea agreement, if he received a sentence consistent

 with Guideline Level 13 or lower, he was waiving his right to appeal his conviction and sentence to

 the Fourth Circuit Court of Appeals on any ground whatsoever, including those grounds set forth in

 18 U.S.C. § 3742. Defendant further understood that under his plea agreement, he was waiving his

 right to challenge his conviction and sentence in any post-conviction proceeding, including any

 proceeding under 28 U.S.C. § 2255. Defendant understood, however, that he was reserving the right

 to raise claims of ineffective assistance of counsel or prosecutorial misconduct that he learned about

 after the plea hearing, and agreed that he was unaware of any ineffective assistance of counsel or

 prosecutorial misconduct in his case at this time. From the foregoing, the undersigned determined that



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 Defendant understood his appellate rights and knowingly gave up those rights pursuant to the

 conditions contained in the written plea agreement.

         The undersigned Magistrate Judge further examined Defendant relative to his knowledgeable

 and voluntary execution of the written plea bargain agreement, and determined the entry into said

 written plea bargain agreement was both knowledgeable and voluntary on the part of Defendant. The

 undersigned then inquired of Defendant regarding his understanding of the written plea agreement.

 Defendant stated he understood the terms of the written plea agreement and also stated that it contained

 the whole of his agreement with the Government and no promises or representations were made to him

 by the Government other than those terms contained in the written plea agreement.

         The undersigned Magistrate Judge further inquired of Defendant, his counsel, and the

 Government as to the non-binding recommendations and stipulation contained in the written plea

 bargain agreement and determined that Defendant understood, with respect to the plea bargain

 agreement and to Defendant’s entry of a plea of guilty to the felony charge contained in Count Twelve

 of the Indictment, the undersigned Magistrate Judge would write the subject Report and

 Recommendation and would further order a pre-sentence investigation report be prepared by the

 probation officer attending the District Court. The undersigned advised the Defendant that the District

 Judge would adjudicate the Defendant guilty of the felony charged under Count Twelve of the

 Indictment. Only after the District Court had an opportunity to review the pre-sentence investigation

 report, would the District Court make a determination as to whether to accept or reject any

 recommendation or stipulation contained within the plea agreement or pre-sentence report. The

 undersigned reiterated to the Defendant that the District Judge may not agree with the

 recommendations or stipulation contained in the written agreement. The undersigned Magistrate Judge

 further advised Defendant, in accord with Federal Rule of Criminal Procedure 11, that in the event

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 the District Court Judge refused to follow the non-binding recommendations or stipulation contained

 in the written plea agreement and/or sentenced him to a sentence which was different from that which

 he expected, he would not be permitted to withdraw his guilty plea. Defendant and his counsel each

 acknowledged their understanding and Defendant maintained his desire to have his plea of guilty

 accepted.

         Defendant also understood that his actual sentence could not be calculated until after a pre-

 sentence report was prepared and a sentencing hearing conducted. The undersigned also advised, and

 Defendant stated that he understood, that the Sentencing Guidelines are no longer mandatory, and that,

 even if the District Judge did not follow the Sentencing Guidelines or sentenced him to a higher

 sentence than he expected, he would not have a right to withdraw his guilty plea. Defendant further

 stated his attorney showed him how the advisory guideline chart worked but did not promise him any

 specific sentence at the time of sentencing. Defendant stated that he understood his attorney could not

 predict or promise him what actual sentence he would receive from the sentencing judge at the

 sentencing hearing. Defendant further understood there was no parole in the federal system, although

 he may be able to earn institutional good time, and that good time was not controlled by the Court, but

 by the Federal Bureau of Prisons.

         Defendant also agreed to the administrative forfeiture of the $8,897.00 named in paragraph 1(b)

 of the Indictment’s Forfeiture Allegation. He waived the right to notice regarding the forfeiture and

 agreed that neither he nor anyone acting for him shall appear in or pursue any action to contest the

 forfeiture.

         The parties agreed that the Government would present a proffer to provide an independent

 basis in fact for Defendant’s plea. The Government proffered that on November 7, 2014, officers from

 the Mountain Region Drug Task Force executed a federal search warrant at Defendant’s home, within


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 the Northern District of West Virginia. While executing the search warrant, officers located three (3)

 bags of marijuana along with $8,897.00. Defendant was interviewed that same day. During the

 interview, Defendant admitted to selling marijuana and gave details concerning the manner of

 arranging his sales (by text messages) and prices. Three (3) days later, on November 10, 2014,

 Defendant contacted an officer from the Task Force, stating that he wanted to talk to them again.

 During that interview, Defendant provided more detail about his sources. He also stated that during

 a three (3) to four (4)-year period, he had received approximately thirty (30) pounds of marijuana.

        Defendant stated he heard, understood, and did not disagree with the Government’s proffer.

 The undersigned United States Magistrate Judge concludes the offense charged in Count Twelve of

 the Indictment are supported by an independent basis in fact concerning each of the essential elements

 of such offense. That independent basis is provided by the Government’s proffer.

        Thereupon, Defendant, Roy Melvin Isner, with the consent of his counsel, Deirdre Purdy,

 proceeded to enter a verbal plea of GUILTY to the felony charge in Count Twelve of the Indictment.

        Upon consideration of all of the above, the undersigned Magistrate Judge finds that Defendant

 is fully competent and capable of entering an informed plea; Defendant is aware of and understood his

 right to have an Article III Judge hear and accept his plea and elected to voluntarily consent to the

 undersigned United States Magistrate Judge hearing his plea; Defendant understood the charges

 against him, not only as to the Indictment as a whole, but in particular as to Count Twelve of the

 Indictment; Defendant understood the consequences of his plea of guilty, in particular the maximum

 statutory penalty to which he would be exposed for Count Twelve; Defendant made a knowing and

 voluntary plea of guilty to Count Twelve of the Indictment; and Defendant’s plea is independently

 supported by the Government’s proffer which provides, beyond a reasonable doubt, proof of each of

 the essential elements of the charges to which Defendant has pled guilty.



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        The undersigned Magistrate Judge therefore recommends Defendant’s plea of guilty to Count

 Twelve of the Indictment herein be accepted conditioned upon the Court’s receipt and review of this

 Report and Recommendation.

        The undersigned further directs that a pre-sentence investigation report be prepared by the adult

 probation officer assigned to this case.

        Defendant is released pursuant to the Order Setting Conditions of Release previously entered.

        Any party may, within fourteen (14) days after being served with a copy of this Report and

 Recommendation, file with the Clerk of the Court written objections identifying the portions of the

 Report and Recommendation to which objection is made, and the basis for such objection. A copy of

 such objections should also be submitted to the Honorable John Preston Bailey, United States District

 Judge. Failure to timely file objections to the Report and Recommendation set forth above will result

 in waiver of the right to appeal from a judgment of this Court based upon such report and

 recommendation. 28 U.S.C. § 636(b)(1); United States v. Schronce, 727 F.2d 91 (4th Cir. 1984), cert.

 denied, 467 U.S. 1208 (1984); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985); Thomas v. Arn, 474

 U.S. 140 (1985).

        The Clerk of the Court is directed to send a copy of this Report and Recommendation to

 counsel of record.

        Respectfully submitted this 15th day of April, 2015.


                                                        John S. Kaull
                                                        JOHN S. KAULL
                                                        UNITED STATES MAGISTRATE JUDGE




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